Case 23-13491-amc             Doc 35
                                  Filed 10/22/24 Entered 10/22/24 12:37:54                          Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    Chinelle Monique Ballard                                                  CHAPTER 13
                                        Debtor(s)

    MIDFIRST BANK
                                        Moving Party
                       vs.                                                 NO. 23-13491 AMC

    Chinelle Monique Ballard
                                        Debtor(s)

    Kenneth E. West                                                       11 U.S.C. Section 362
                                        Trustee

                                               STIPULATION

        AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

        1.         Debtor is current on post-petition payments on the mortgage held by Movant on Debtor’s

residence located at 6414 Callowhill Street, Philadelphia, PA 19151.

        2.         Debtor shall maintain monthly mortgage payments to Movant beginning with the payment

due November 1, 2024, and continuing thereafter.

        3.         Should Debtor provide sufficient proof of payments made, but not credited (front & back

copies of cancelled checks and/or money orders), Movant shall adjust the account accordingly.

        4.         In the event the payments under Section 2 above are not tendered pursuant to the terms of

this Stipulation, Movant shall notify Debtor and Debtor’s attorney of the default in writing and the Debtor

may cure said default within FIFTEEN (15) days of the date of said notice. If Debtor should fail to cure the

default within fifteen (15) days, Movant may file a Certification of Default with the Court and the Court shall

enter an Order granting Movant relief from the automatic stay and waiving the stay provided by Bankruptcy

Rule 4001(a)(3).

        5.         If the case is converted to Chapter 7, Movant shall file a Certification of Default with the

Court and the Court shall enter an order granting Movant relief from the automatic stay.

        6.         If the instant bankruptcy is terminated by either dismissal or discharge, this agreement shall

be null and void, and is not binding upon the parties.
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        7.       The provisions of this Stipulation do not constitute a waiver by Movant of its right to seek

reimbursement of any amounts not included in this Stipulation, including fees and costs, due under the terms

of the mortgage and applicable law.

        8.       The parties agree that a facsimile signature shall be considered an original signature.


Date: October 18, 2024                         By: /s/ Denise Carlon
                                                   Denise Carlon, Esq.
                                                   Attorney for Movant


Date: October 21, 2024                              /s/ Michael A. Cibik
                                                   Michael A. Cibik, Esq.
                                                   Attorney for Debtor
                                                    No Objection

Date: October 22, 2024                             /s/ LeeAne O. Huggins
                                                   Kenneth E. West
                                                   Chapter 13 Trustee



Approved by the Court this         day of                            , 2024. However, the Court retains
discretion regarding entry of any further order.



                                                   Chief Bankruptcy Judge
                                                   Ashely M. Chan
